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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

RILEY AMORE; and CAROLINE
PARKER,

individually and on behalf of all others
similarly situated,

            Plaintiffs,                            Case No. 7:25-cv-00229-EKD-CKM
v.

AMERICAN ASSOCIATION OF
VETERINARY CLINICIANS; SOLUTION
INNOVATIONS, INC.; VCA ANIMAL
HOSPITALS, INC.; BLUEPEARL
HOLDINGS, LLC; MEDVET
ASSOCIATES, LLC; RED BANK
VETERINARY HOSPITAL, P.C.;
UNIVERSITY OF PENNSYLVANIA
SCHOOL OF VETERINARY MEDICINE;
CUMMINGS SCHOOL OF VETERINARY
MEDICINE AT TUFTS UNIVERSITY;
COLLEGE OF VETERINARY MEDICINE
AT MIDWESTERN UNIVERSITY;
NATIONAL VETERINARY ASSOCIATES,
INC.; PIEPER-OLSON VETERINARY
PARENT, LLC; PATHWAY VET
ALLIANCE, LLC; THE ANIMAL
MEDICAL CENTER, INC.,

            Defendants.


       MOTION FOR PRO HAC VICE ADMISSION OF PATRICK J. MCGAHAN

       Petitioner Roman Lifson, Esq., an attorney admitted to practice in this Court and counsel

of record in the instant proceeding, pursuant to Local General Rule 6(d), hereby moves for the pro

hac vice admission of Patrick J. McGahan, Esq., to appear, associate, and participate as co-counsel
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on behalf of Plaintiffs Riley Amore and Caroline Parker, individually and on behalf of all others

similarly situated, in the above-styled case only, and to receive and make electronic filings in this

case, and in support thereof state as follows:

       1.      Mr. Patrick J. McGahan is a Partner at the law firm:

               SCOTT+SCOTT ATTORNEYS AT LAW
               156 S. Main Street
               P.O. Box 192
               Colchester, CT 06415
               (860) 537-5537

       2.      Mr. Patrick J. McGahan is neither qualified nor licensed to practice in the

Commonwealth of Virginia.

       3.      Mr. Patrick J. McGahan is admitted to and a member in good standing of the bar of

the State of New York, No. 770276, and is qualified and licensed to practice before the United

States District Court for the Southern District of New York.

       4.      Mr. Patrick J. McGahan will promptly qualify for electronic case filing as required

by Local Rule 6(d).

       5.      The Declaration of Mr. Patrick J. McGahan in support hereof is attached hereto and

incorporated herein by reference.

       6.      A draft Order is also attached hereto and incorporated herein by reference.

       WHEREFORE, I, Roman Lifson, Esq., respectfully move this Court to enter an Order

permitting Mr. Patrick J. McGahan to appear pro hac vice, and participate as co-counsel on behalf

of Plaintiffs Riley Amore and Caroline Parker, individually and on behalf of all others similarly

situated, for all purposes relating to the proceedings in the above-styled case and directing the

Clerk to provide notice of electronic filings to Patrick J. McGahan at pmcgahan@scott-scott.com.




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Dated: April 18, 2025.             Respectfully submitted,


                                   /s/ Roman Lifson
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                               * Pro Hac Vice Application Forthcoming

                               Counsel for Plaintiffs and the Proposed Class




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